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 5                            UNITED STATES DISTRICT COURT
 6                         EASTERN DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,                             No. CR-13-014-RMP-3

 9                         Plaintiff,                    ORDER GRANTING UNOPPOSED
10 vs.                                                   MOTION TO MODIFY
                                                         CONDITIONS OF RELEASE
11 TAMMY OLSON,
12                         Defendant.
13             Before the court is the Defendant, Tammy Olson’s, Unopposed Motion to
14   Modify Conditions of Release. For good cause shown,
15             IT IS ORDERED that the Motion to Modify Conditions of Release, ECF
16   137, is GRANTED. The requirement that the Defendant shall remain in the
17   Eastern District of Washington will be modified from June 7, 2013, to June 27,
18   2013.
19             All other terms and conditions of her release will remain in full force and
20   effect.
21             DATED May 30, 2013.
22
23                               S/ CYNTHIA IMBROGNO
                           UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING UNOPPOSED MOTION
     TO MODIFY CONDITIONS OF RELEASE - 1
